Case: 1:03-cv-07541 Document #: 1 Filed: 10/24/03 Page 1 PagelD #:1

IN THE UNITED STATES DISTRICT COURT
NORTHERN DIVISION OF ILLINOIS

 

EASTERN DIVISION
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BOBBY SCOTT UDGE NORDBERG nO
Plaintiff _ =
MAGISTRATE SIDNEY |. SCHENKIER: Ho = iy
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B. MAJOR, C. COX, TERRY HILLARD
UNKNOWN POLICE OFFICERS AND an
THE CITY OF CHICAGO (A Municipal 03 C 7 EF 3 1
Corporation) a2 ce:
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COMPLAINT FOR DAMAGES AGAINST CITY,
SUPERVISORY PERSONNEL AND POLICE OFFICERS FOR
POLICE BRUTALITY AND UNLAWFUL ARREST

1. This is a civil action seeking damages against Defendants for committing acts,
under the color of law, which deprived the Plaintiff of rights secured under the
Constitution and laws of the United States of America: for conspiring for the
purpose of impeding and hindering the due course of justice, with the intent to
deny the Plaintiff equal protection of !aws; and for refusing or neglecting to
prevent such deprivations and denials to the Plaintiff. The Court has Jurisdiction
of this action under 42 U.S.C. § 1343.

2. . The Court also has jurisdiction under 28 U.S.C. § 1331.

3. All of the acts complained of below took place in the Northern District of Iinois,
Eastern Division.

4. Plaintiff, BOBBY SCOTT, is a citizen and resident of the City of Chicago, State
of Illinois and United States of America.

5. Defendant, City of Chicago, is a Municipal Corporation, organized under the laws
and the State of Illinois.

6. Defendant, Terry Hillard, was Superintendent of Police for the City of Chicago at
all times relevant to this complaint.

 
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At all times relevant hereto, the UNKNOWN OFFICERS OF THE CHICAGO
POLICE DEPARTMENT (hereinafter referred to as “Unknown Defendants”)
were police officers employed by the City of Chicago.

Unknown Defendant was the district commander of the 6" district of the Police
Department of the City of Chicago at all times relevant to this complaint.

Defendants, B. Major and C. Cox were police officers, employed by the Chicago
Police Department, District Patrol Division, of the City of Chicago.

Plaintiff sues each and all Defendants (except the HY), in both their individual
and official capacities.

At all times, material to this complaint, defendants, acted under the color of the
statutes, customs, ordinances, and usage of the State of Illinois, the City of
Chicago and the Chicago Police Department.

COUNT I

On or about October 24", 2001, at approximately 4:00 p. m., Plaintiff was
attempting to pay for fare to ride the C.T.A. train located at 95™ street and Dan
Ryan Expressway, City of Chicago. _

Defendants, B. Major and C. Cox grabbed the plaintiff violently and threw the
plaintiff head first into a set of steel bars, then the plaintiff was subsequently
placed under arrest.

At no time, either in said terminal or at any later time and place, did plaintiff
attempt to resist arrest by or offer violence to them.

Defendants B. Major and C. Cox, bodily removed Plaintiff from the terminal
without provocation, need or explanation, dragged plaintiff from said train station,
beat him about the body and transported him to Roseland hospital due to the
severity of his injuries; Plaintiff was then subsequently taken to the 6th District
Police Station, located at 7808 S. Halsted City of Chicago, arriving at
approximately 02:30 a.m. October 25", 2001..

While at the District Police Station, Defendants verbally assaulted Plaintiff.

As a RESULT OF THE BATTERY BY defendants, Plaintiffs suffered lacerations .

about his head which left permanent visible scars; abrasions and contusions. And
plaintiff has also lost sight in right eye.

The Plaintiff appeared in the State Court and was charged as set out below in
paragraph 8;

 
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Defendant B. Major and C. Cox swore out a complaint against Plaintiff, alleging
criminal trespass.. Said charges were dismissed before the Circuit Court of Cook
County, before the honorable Judge Presiding. The dismissal was the final
determination of said charges.

As a result of their concerted unlawful and malicious physical abuse of plaintiff,
Defendants B. Major and C. Cox intentional or with deliberate indifference and
callous disregard of plaintiff's right, deprived plaintiff of his right to equal justice,
in violation of the Fifth and Fourteenth Amendments of the Constitution of the
United States of America and U.S.C. § 1983. .

WHEREFORE, plaintiff, BOBBY SCOTT, demands Judgment against Defendants B.
Major and C. Cox, jointly and severally, for compensatory damages in the amount of

$ 125,000.00 and further demands judgment against each said defendant (except the city),
jointly and severally for punitive damages in the amount of $125.000.00 plus the costs of
this action and such other relief as the Court deems just and equitable.

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COUNT II

Plaintiff re-alleges paragraphs 1-4, and 7-8 of Count I as paragraphs 1-6 of Count
{f and hereby incorporates them as though fully ser forth herein.

Therefore was no warrant for the arrest of Plaintiff on October 25th, 2001. The
arrest of the Plaintiff by Defendants as stated. in paragraph 2 above was without
reasonable grounds for said Defendants to believe Plaintiff had committed an
offence and Defendants knew they were without probable cause to arrest Plaintiff,

Neither at the time of the arrest, as stated in paragraph 2 above, nor at anytime
was Plaintiff informed of the grounds for said arrest. No complaint, information,
or incident was ever sworn against plaintiff alleging offence occurring prior to the
moment Defendants announced to Plaintiff that he was under arrest.

Plaintiff was transported to the 6" district Police Station, as stated in Paragraph 4,
where he was incarcerated for approximately 3 hours and was not allowed to post
bond until approximately 05:10 a.m. October 25th, 2001.

As a result of their concerted unlawful and malicious arrest of Plaintiff B. Major
and C. Cox deprived Plaintiff of his liberty without due process of law and
deprived him of equal protection of the laws in violation of the Fifth and
Fourteenth Amendments of the Constitution of the United States of America and
42 U.S.C. § 1983,

AS a result of their concerted and unlawful and malicious detention and

confinement of Plaintiff, Defendants B. Major and C. Cox intentionally, or with
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deliberate indifference and callous disregard of Plaintiff's rights, deprived
Plaintiff of his liberty without due process of law and deprived him of equal
protection of the laws in violation of the Fifth and Fourteenth Amendments of the
Constitution of the United States of America and 42 U.S.C. § 1983.

WHEREFORE, Plaintiff BOBBY SCOTT, demands judgment against Defendants B.
Major and C. Cox jointly and severally, for compensatory damages in the amount of

 

$125,000.00, and further demands Judgment against each of said defendants (except the
City), jointly and severally, for punitive damages in the amount of $125,000.00, plus
court costs of this action and such other relief as this Court may deem just and equitable.

 

COUNT III

1-14. Plaintiff re-alleges paragraphs 1-9 of Count I and paragraphs 7-11 of Count II as

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paragraphs 1-14 of Count [I and hereby incorporates them in this Count as
though fully set forth herein.

At all times relevant to this Complaint Defendants B. Major and C. Cox as a
police officer of the Chicago Police Department were acting under the direction
and control of Defendants Terry Hillard, Unknown Defendants and Defendant
City of Chicago.

Acting under the color of law and pursuant to official policy or custom, Defendant
John Doe and City of Chicago knowingly, recklessly, or with deliberate
indifference and callus disregard of Plaintiff's rights, failed to instruct, supervise,
control and discipline on a continuing basis Defendant police officers in their
duties to refrain from:

1. Unlawfully and maliciously harassing a citizen who was acting in
accordance with her constitutional and statutory rights, privileges, and
immunities.

2, Unlawfully and maliciously arresting, imprisoning and prosecuting a
citizen who was acting in accordance with her constitutional and
Statutory rights, privileges, and immunities.

3. Unlawfully and maliciously assaulting, and beating a citizen or
otherwise using unreasonable and excessive force before, during and
after the making of an arrest, whether the arrest was lawful or unlawful.

4, Conspiring to violate the laws of the privileges and immunities
guaranteed to plaintiff by the Constitution and laws of the United
States of America and the laws of the State of IHinois; and

5. Otherwise depriving plaintiff of her Constitutional and | Statutory tights,
privileges and immunities.

Terry Hillard, Unknown Defendants and City of Chicago had knowledge or had
they diligently exercised their duties to instruct, supervise, control, and discipline
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on a continuing basis, should have had knowledge that the wrongs conspired to be
done, as heretofore alleged, were about to be committed. Defendant Jo Doe and
the City of Chicago had power to prevent or aid in preventing the commission of
said wrongs, could have done so by reasonable diligence, and knowingly,
recklessly or with deliberate indifference and callus disregard of plaintiff's rights

failed or refused to do so.

18. Terry Hillard, Unknown Defendants and City of Chicago, directly or indirectly,
under the color of law, approved or rectified the unlawful, deliberate malicious,
reckless and wanton conduct of defendant police officers heretofore described.

19. As a direct and proximate cause of the acts of Terry Hillard, Unknown

Defendants and City of Chicago as set forth in paragraphs 16-18 above, plaintiff
suffered physical injury, medical expenses and severe mental anguish in
connection with the deprivation of his Constitutional and statutory rights
guaranteed by the Fifth and Fourteenth Amendments of the Constitution of the

United States of America and protected by 42 U.S.C. § 1983.

WHEREFORE, Plaintiff BOBBY SCOTT demands judgment against Terry Hillard,

Unknown Defendants and City of Chicago, jointly and severally for compensatory
damages in the amount of $125,000.00, and further demands judgment against each of
the said defendants (except the City), jointly and severally, for the punitive damages in
the amount of $125,000.00 plus the cost of this action and such other relief as this Court

 

deems just and equitable.

Ma.) 4b.

(Attdtney for the Plaintiff)

Marc D. Berlin

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W. Jackson Blvd. Suite 1442

Chicago, Illinois 60604
(312) 987-1130
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by jaw, except as provided by local rules of court. This form, a approved by the Judicial Conference of the United States in September 1974, « pers se regu the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.

DEFENDANTS

(a) PLAINTIFFS JUDGE NORDBERG Major, C. Cox, Terry Hillard

BOBBY SCOTT MAGISTRATE SIDNEY |. SCHENKIERUnknown Police Officers, The
City of Chicago (A Municipal

Corporation) ©
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 (b) County of Residence of First Listed Plaintiff cooK
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Law Office of Marc D. Berlin 03 Y 4 1 af & a CC
53 W. Jackson Blvd. #1442 Or = ot

Chicago, IL. 60604 (312) 987 1130

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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VL CAUSE OF ACTION Do not cite jurisdictional statutes unless diversity.)

 

 

 

 

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